
100 N.Y.2d 612 (2003)
STEPHANIE BRUKER, Appellant,
v.
SULLIVAN AND LIAPAKIS, P.C., et al., Respondents.
STEPHANIE BRUKER, Appellant,
v.
SUSAN SAVOCA, Respondent.
Court of Appeals of the State of New York.
Submitted September 8, 2003.
Decided September 23, 2003.
Appeal from so much of the Appellate Division order as (1) dismissed appeals from Supreme Court orders denying reargument, (2) affirmed so much of a different Supreme Court order as denied appellant's cross motion for leave to amend the complaint, and (3) denied appellant's motion to enlarge the record on appeal, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such portions of the order appealed from do not finally determine the actions within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
